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ANTHONY THOMAS and WENDI
6 || THOMAS and AT EMERALD, LLC
7
8
9 UNITED STATES BANKRUPTCY COURT
10 DISTRICT OF NEVADA
11 —oo0o00—
12 || In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
13 | ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,
14 [Jointly Administered]
15 | AT EMERALD, LLC, DECLARATION OF ANTHONY
THOMAS IN SUPPORT OF
16 Debtors. OPPOSITION TO MOTION TO
COMPEL PRODUCTION OF
17 REQUIRED KEY OR AUTHORIZE
DRILL OUT OF VAULT LOCK AND
18 REQUEST FOR RECONSIDERATION
OF ORDER GRANTING EX PARTE
19 MOTION FOR ORDER REQUIRING
THE PERSON MOST
20 KNOWLEDGEABLE OF THE
SARASOTA VAULT TO APPEAR FOR
21 EXAMINATION AND TO PERMIT
INSPECTION OF TANGIBLE THINGS
22 PURSUANT TO FED. R. BANKR. P.
2004
23
Hearing Date: July 30, 2014
24 Hearing Time: 10:00 a.m.
25 /
26 I, ANTHONY THOMAS, being first duly sworn, declare and say under penalty of
27 || perjury as follows:
28 1. I am over the age of 18 years of age, and I am mentally competent. I am the
ALAN R. SMITH
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1 |) managing member of AT Emerald, LLC (the “Debtor”). I have authority to enter into
2 || agreements on behalf of AT Emerald, LLC.
3 2. Except as otherwise indicated, all facts set forth in this declaration are based
4 || upon my personal knowledge. If called upon to testify as to the contents of this declaration,
5 | I could and would do so.
6 3, The Debtor is the owner of a 23 kilogram black schist stone including green
7 || crystal beryl (the “Emerald”).
8 4, The Debtor filed its bankruptcy petition on March 4, 2014 (the “Petition
9 || Date”).
10 5. On June 23, 2014, the Debtor filed its Motion to Sell Assets Free and Clear of
11 || Liens and Motion to File Purchase and Sale Agreement Under Seal [DE 83] (the “Sale
12 || Motion”).
13 6. On July 23, 2014, the Order Approving Motion to Sell Assets Free and Clear
14 || of Liens [DE 142] was entered (the “Order Approving Sale”).
15 7. Debtor’s Emerald is not insured. Because of the stone’s unique nature and high
16 || value, it has been difficult and cost prohibitive to obtain insurance on the Emerald.
17 || Accordingly, because the Emerald is uninsured it is imperative that it not be handled by
18 || anyone. Further, great care should be taken to preserve the contiguous nature of the Emerald
19 || so as to preserve its value. The Court should not permit anyone to touch or handle the
20 || Emerald, or to do anything that may impair the Emerald’s value. The Court should also take
21 || great care in restricting access to the Emerald to only those parties and people absolutely
22 || necessary and approved by the court to view the Emerald.
23 8. The Debtor has entered into a purchase and sale agreement to sell the Emerald
24 || which has been approved by the Court. After the hearing on the Sale Motion, the Purchaser
25 || viewed the Emerald and approved the Emerald’s appearance. The Purchaser has requested
26 || that noone be permitted to access the vault so as to ensure that the Emerald is in the same
27 || condition as the Purchaser left it. Accordingly, it is imperative that for purposes of
28 || consummating the sale that the Order On Motion For Inspection be reconsidered and denied.
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“(778) 786-4579 _|| HAT Emerald\Mot Compel (Dri Vit Lock)\Dec! Thomas Opp Mot Confb<P (Drill Vault Lock) 072814-dla.wpd

 

 
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9. The Debtor has been trying to sell the Emerald for several years and wishes to
preserve the sale which is in the best interest of all creditors in this case and the jointly
administered Thomas bankruptty case.

DATED this 29th day of July, 2014.

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ANTEOR THOMAS

 

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